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16   Carnegie Mellon University
17                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                SAN FRANCISCO DIVISION
19
     CARNEGIE MELLON UNIVERSITY,              )
20                                            )       Case No. 3:18-cv-04571-JD
                      Plaintiff,              )
21                                            )       DECLARATION OF CHRISTOPHER
                         v.                   )       VERDINI IN SUPPORT OF PLAINTIFF
22                                            )       CARNEGIE MELLON UNIVERSITY’S
                                              )       ADMINISTRATIVE MOTION FOR
23   LSI CORPORATION and AVAGO                )       LEAVE TO FILE UNDER SEAL
     TECHNOLOGIES U.S. INC.,                  )
24                                            )
                      Defendants.             )
25                                            )

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 1   I, Christopher Verdini, declare:
 2          1.      I am an attorney at K&L Gates LLP in its Pittsburgh, PA office. I, along with other
 3   attorneys at K&L Gates LLP, represent Carnegie Mellon University (“CMU”) in this action.
 4          2.      Pursuant to Civil L.R. 79-5(d) and (e), I submit this declaration in support of CMU’s
 5   Administrative Motion for Leave to File Under Seal. CMU moves to seal portions of the Opposition
 6   to Defendants’ Motion to Strike Portions of Plaintiff’s Corrected Reply in Support of its Motion for
 7   Leave to Amend Infringement Contentions or for Leave to File a Sur-Reply (“Opposition”).
 8          3.      Pursuant to Civil L.R. 79-5(e), portions highlighted in CMU’s Opposition contain
 9   content that CMU in good faith believes Defendants have represented to the Court is “non-public,
10   commercially sensitive and proprietary technical information pertaining to functionalities in [their]
11   products” (Dkt. 114-115) and/or which they have designated as “Highly Confidential Attorneys’
12   Eyes Only” under the Protective Order in this case. Where disclosure could result in commercial
13   harm or unfair competitive disadvantage, good cause exists for sealing. See Kamakana v. City and
14   Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (holding that certain types of non-public,
15   commercially sensitive documents may be protected from public disclosure). Further, the proposed
16   sealing is narrowly tailored because it is limited to the information designated as commercially
17   sensitive, generally unknown, and/or valuable trade secret information belonging to Defendants.
18          4.      Pursuant to Civil L.R. 79-5(d)(2), a courtesy copy of CMU’s entire filing, including
19   the complete and unredacted versions of the foregoing document, will be lodged with the Court and
20   served on counsel for Defendants in order to permit Defendants to satisfy their obligations under
21   Civil L-R. 79-5(e).
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23
     I declare under penalty of perjury under the law of the United States of America that the foregoing is
24
     true and correct. Executed on July 24, 2019 at Pittsburgh, Pennsylvania.
25
                                                                          /s/ Christopher Verdini
26                                                                          Christopher Verdini

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     VERDINI DECL. ISO MOTION TO FILE UNDER SEAL                       CASE NO. 3:18-CV-04571-JD
